                   Case 19-10915-amc                             Doc        Filed 03/14/24 Entered 03/14/24 16:25:09                     Desc Main
                                                                            Document      Page 1 of 3


  Fill in this information to identify the case:
Debtor 1           Jeffrey T. Esposito

Debtor 2            Helen J. Esposito
(Spouse, if filing)
United States Bankruptcy Court for the: Eastern District of PA
                                                                            (State)
  Case number: _19-10915-amc_______________


Official Form 4100R

Response to Final Cure Payment                                                                                                                       10/15
According to Bankruptcy Rule 3002.1(g), the creditor response to the trustee's notice of final cure payment.

  Part 1:                        Mortgage Information

  Name of Creditor:              First Heritage Financial                                                           Court Claim no. (if known)
                                                                                                                    22
  Last 4 digits of any number you use to identify the debtor's account: XXXXXX4313

  Property address:              1939 South Hollywood Street
                                 Number             Street




                                Philadelphia, PA 19145
                                 City                            State      Zip Code

  Part 2:                        Prepetition Default Payments

  Check One:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor's claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
       of the response is:

  Part 3:                        Postpetition Mortgage Payment

  Check One:

       Creditor agrees that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
       the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       The next postpetition payment from the debtor is on:                            4/1/2024
                                                                                        MM/ DD / YYYY
       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
       of the Bankruptcy Code, including all fees, charges, expenses, escrow and costs.




       Creditor asserts that the total amount remaining unpaid as of the date of this responses is:

           a.    Total postpetition ongoing payments due:                                                                               (a) $
           b.    Total fees, charges, expenses, escrow, and costs outstanding:                                                          (b) $
           c.    Total. Add lines a and b.                                                                                              (c) $

           Creditor asserts that the debtor(s) are contractually
           obligated for the postpetition payments that first became
           due on:                                                                     ____/____/______
                                                                                        MM / DD / YYYY




Form 4100R                                                               Response to Notice of Final Cure Payment                                    Page 1
                Case 19-10915-amc                       Doc      Filed 03/14/24 Entered 03/14/24 16:25:09                              Desc Main
                                                                 Document      Page 2 of 3

           Debtor 1       Jeffrey T. Esposito                                                                   Case number: _19-10915-amc
                          First Name          Middle Name      Last Name



 Part 4:                    Itemized Payment History

     If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
     debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow and costs,
     the creditor must attach an itemized payment history disclosing the following amounts from the date of the
     bankruptcy filing through the date of this response:

      all payments received;
      all fees, costs, escrow, and expenses assessed to the mortgage; and
      all amounts the creditor contends remain unpaid.

 Part 5:                    Sign Here

 The person completing this notice must sign it. The response must be filed as a supplement to the creditor's
 proof of claim.

 Check the appropriate box

     I am the creditor.

     I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information in this Notice is true and correct to the best of my knowledge, information, and
 reasonable belief.

 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.

 X     /s/ Christopher A. DeNardo                                                Date: March 14, 2024
       Signature

 Print:                                                                          Title: Attorney for and on behalf of Midwest Loan Services (as servicer for
               Christopher A. DeNardo 78447                                            creditor)
               First Name               Middle Name           Last Name
 Company         LOGS Legal Group LLP


 Address       985 Old Eagle School Road, Suite 514
               Number         Street
               Wayne, PA 19087
               City                              State          ZIP Code
 Contact       (610) 278-6800                                                    Email logsecf@logs.com
 phone




Form 4100R                                                    Response to Notice of Final Cure Payment                                                         Page 2
           Case 19-10915-amc              Doc       Filed 03/14/24 Entered 03/14/24 16:25:09                     Desc Main
                                                    Document      Page 3 of 3

                                                   Certificate of Service

I hereby certify that a copy of the foregoing Response to Notice of Final Cure was served on the parties listed below by postage
prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address registered with the
Court on this Date:

Date: March 14, 2024


Michael A. Cibik, Esquire
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

Scott Waterman
Chapter 13 Trustee
2901 St. Lawrence Avenue, Suite 100
Reading, PA 19606

Jeffrey T. Esposito
1939 South Hollywood Street
Philadelphia, PA 19145

Helen J. Esposito
1939 South Hollywood Street
Philadelphia, PA 19145




                                                                          /s/ Christopher A. DeNardo
                                                                          Christopher A. DeNardo 78447
                                                                          Heather Riloff - 309906
                                                                          Leslie J. Rase, 58365
                                                                          LOGS Legal Group LLP
                                                                          985 Old Eagle School Road, Suite 514
                                                                          Wayne, PA 19087
                                                                          (610) 278-6800
                                                                          logsecf@logs.com
